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                 EXHIBIT A
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April 4, 2023

Via Electronic Mail
Michael K. Krouse, Esq.
Paul J. Fishman, Esq.
Veronica E. Callahan, Esq.
Kathleen Reilly, Esq.
ARNOLD & PORTER LLP
250 W. 55th St.
New York, NY 10019

            RE:       United States v. James Velissaris

Dear Michael:

       James Velissaris has informed us that in early December, 2022 you and the other members
of your trial team told him that you had applied, or were applying for, a position with a federal
enforcement agency. He does not recall which agency you mentioned or whether it was the
Department of Justice, the Securities & Exchange Commission, the Commodities Futures Trading
Commission, or some other agency.

        We believe Mr. Velissaris, who retained you and your firm to represent him during that
same period of time, is entitled to know if you were seeking employment during that same period
of time, with any of the agencies involved in his investigation, or in the civil and criminal cases
that have been filed.

        We request that you let us know by close of business today, Tuesday, April 4, 2023, with
which agency you applied for a position, the date of your application, and/or when verbal or written
notice of interest was indicated by you to that agency.

                                                          Sincerely,



                                                          William R. Martin
